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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 UMG RECORDINGS, INC., et al.,
                                               §
          Plaintiffs,                          §
                                               §
 vs.                                           §
                                               §     Civil Action No. 1:17-cv-00365-DAE-AWA
 GRANDE COMMUNICATIONS                         §
 NETWORKS LLC,                                 §
                                               §
          Defendant.                           §
                                               §

     ORDER OVERRULING DEFENDANT GRANDE COMMUNICATIONS
  NETWORKS, LLC’S OBJECTIONS TO THE MAGISTRATE JUDGE’S ORDER
          DENYING MOTION FOR EVIDENTIARY SANCTIONS

         BEFORE THE COURT are Defendant Grande Communications Networks LLC’s

Objections to the Magistrate Judge’s Order Denying Motion for Evidentiary Sanctions (Dkt.

No. 290) (the “Objections”). Having considered the Objections and Plaintiffs’ Opposition to

the Objections filed on October 25, 2019, the Court finds the Objections are without merit and

should be OVERRULED.

         IT IS, THEREFORE, ORDERED that Defendant Grande Communications Networks

LLC’s Objections to the Magistrate Judge’s Order Denying Motion for Evidentiary Sanctions

(Dkt. No. 290) are hereby OVERRULED.

         SIGNED on this ____ day of ______________________, 2019.


                                                   DAVID EZRA
                                                   UNITED STATES DISTRICT JUDGE
